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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION


LAZARO MARTINEZ,

                        Plaintiff,

v.                                                             Case No: 6:22-cv-461-RBD-LHP

LOWE’S HOME CENTERS, LLC

                        Defendant.


             CASE MANAGEMENT AND SCHEDULING ORDER
        Upon consideration of the parties’ Case Management Report (Doc. 15), the Court

enters this Case Management and Scheduling Order (“CMSO”), which is designed to

secure the just, efficient, and inexpensive resolution of this action. Fed. R. Civ. P. 1, 16(b);

Local Rules 1.01(b), 3.02(c).

I.      OVERVIEW

        A.      Controlling Rules, Standards and Procedures

        All conduct related to this action must be civil, cooperative, conscientious, and in
strict compliance with the procedures, standards, and requirements set forth in this
CMSO, the Federal Rules of Civil Procedure (“Rules”), 1 the Local Rules, 2 the Court’s
Discovery Handbook, the Court’s Administrative Procedures for Electronic Filing
(“Filing Procedures”), and the Undersigned’s Case and Trial Management Preferences. 3


        1 In this CMSO, “Rule __” refers to a Federal Rule of Civil Procedure.
        2 The deadlines provided in this CMSO are consistent with recent changes to the Federal Rules of
Civil Procedure. Where such deadlines are inconsistent with the Local Rules, the deadlines in this CMSO
and the Federal Rules control. See Local Rule 1.01(b).
        3 Counsel also shall comply with the Ideals and Goals of Professionalism adopted by the Board of

Governors of the Florida Bar on May 16, 1990 (“Ideals”). The Ideals are available at www.floridabar.org.
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The parties must carefully review the entirety of these materials, which are available at
the Court’s website:

                  https://www.flmd.uscourts.gov/judges/roy-dalton-jr,
                  http://www.flmd.uscourts.gov/forms/forms policies.htm,
                  http://www.flmd.uscourts.gov/CMECF/default.htm, and
                  https://www.flmd.uscourts.gov/courtroom-technology.


         B.       Sanctions

       The parties are cautioned that the Court will diligently enforce this CMSO, and—
when necessary—will exercise its inherent and explicit authority to sanction parties and
attorneys who violate the letter or spirit of the Court’s Rules and Orders. 4

         C.       Ex Parte Communications

       All ex parte communications concerning this action are prohibited—including
telephone calls to the Undersigned’s Chambers with requests for information or guidance
from the Court. Such requests raise constitutional and ethical concerns, 5 and they should
be unnecessary given the explicit instructions set forth in this CMSO and the wealth of
information available on the Court’s website. In the rare instance that a concern or
question remains after careful consideration of such materials, the parties may request
guidance from the Court in a motion filed with the Clerk of the Court. See Fed. R.
Civ. P. 7(b); Local Rule 3.01(a), (j).

         D.       Deadlines

       For the convenience of the parties, a table summarizing important deadlines is
provided below. The table is merely a summary, and it must be considered in conjunction
with the entirety of the CMSO and other materials noted above (supra Part I.A).




         4 See 28 U.S.C. § 1927; Fed. R. Civ. P. 11(c), 16(f), 26(g)(3), 37, 41(b), 83; Local Rules 2.04(a), 3.10; see

also Chambers v. NASCO, Inc., 501 U.S. 32, 43–46 (1991); Roadway Exp., Inc. v. Piper, 447 U.S. 752, 764–65
(1980); Link v. Wabash R. Co., 370 U.S. 626, 629–30 (1962).
         5 See Code of Conduct for United States Judges, Canon 3A(4); Am. Coll. of Trial Lawyers, Code of

Pretrial & Trial Conduct, Obligations to the Court, Communication with the Court (2009); see also Envtl.
Def. Fund v. Alexander, 614 F.2d 474, 480–81 (5th Cir. 1980).



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 **The parties must file the Trial Materials on CM/ECF and must
    e-mail editable copies of such documents (in Microsoft Word®
    format) to chambers_flmd_Dalton@flmd.uscourts.gov
 Commencement of the Jury Trial Term                                      August 7, 2023




II.   DISCOVERY PROCEDURES AND LIMITATIONS

      A.     Certificate of Interested Persons and Corporate Disclosure Statement

       No party may seek discovery from any source before filing and serving a
Certificate of Interested Persons and a Corporate Disclosure Statement on the mandatory
forms previously provided to the parties. The Court may deny any filing—including an
emergency motion—if the filing party has not filed and served the Certificate of
Interested Persons and Corporate Disclosure Statement. See Local Rule 3.03.

      B.     Depositions and Interrogatories

       Absent leave of Court, the parties may: (a) serve no more than twenty-five (25)
interrogatories, including sub-parts (Fed. R. Civ. P. 33(a)(1)); and (b) take no more than
ten (10)depositions per side—not per party—Fed. R. Civ. P. 30(a)(2)(A) & 31(a)(2)(A).
Absent stipulation of the parties or leave of the Court, each deposition is limited to one
seven-hour day. Fed. R. Civ. P. 30(d)(1).

      C.     Production Requests

       Requests for production of documents, electronically stored information (“ESI”),
and tangible things must be made in a thoughtful, case-specific, and non-harassing
fashion. See Fed. R. Civ. P. 26(b)(1), 34(b)(1)(B). The producing party shall conduct its
production in the manner prescribed by Rule 34(b)(2)(E).

      D.     Timing and Format of Discovery Requests

        The parties are encouraged to provide electronic copies of all discovery requests
they serve on a party or a non-party. The parties shall serve all discovery requests
sufficiently in advance of the discovery deadline so that any response will be due by the
discovery deadline.

      E.     Responses and Objections to Discovery




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       Responses to discovery requests must be timely, complete, and devoid of
boilerplate, non-specific objections. Parties shall promptly update or amend any
incomplete or incorrect disclosure, response, objection, or production. Fed. R. Civ. P.
26(e).

       F.     Prohibition on Filing Discovery with the Court

      The parties shall not file discovery materials with the Clerk except to support a
motion or unless directed to do so by the Court. See Fed. R. Civ. P. 5(d)(1).

       G.     “Expert” Opinions

        On or before the deadlines set forth in this CMSO, the parties shall: (1) pursuant
to Rule 26(a)(2)(A), disclose the identity of any witness who may provide expert opinion
evidence at trial (“Expert Witness”); (2) pursuant to Rule 26(a)(2)(B), produce a written
report (“Expert Report”) for any Expert Witness that is retained or specially employed to
provide expert testimony in this action, including any party’s employee that regularly
provides expert testimony; and (3) pursuant to Rule 26(a)(2)(C), produce a written
disclosure (“Expert Disclosure”) for any other Expert Witness. Any person who is not
timely identified as an Expert Witness in accordance with Rule 26(a)(2)(A) will be
prohibited from offering expert opinion testimony at trial. On direct examination at trial,
the Court also will strictly limit the testimony of all Expert Witnesses to the matters that
are fully and timely disclosed in an Expert Report or Expert Disclosure.

       H.     Confidential Information

       Stipulated motions for entry of a protective order are discouraged and
unnecessary because the Court will enforce a written agreement to protect the
confidentiality of information produced during discovery—including by designating
such information as “confidential”—so long as such agreement: (1) includes the following
statement: “No party shall file a document under seal unless the Court previously
granted a motion to file under seal which was submitted to the Court in compliance with
Local Rule 1.11.”; and (2) is signed by the necessary parties and attorneys.

       I.     Agreements and Stipulations

       Consistent with the terms of this CMSO (supra Part I.D & Local Rule 3.05), the
parties may agree or stipulate to other discovery procedures and limitations—including
agreements concerning assertions of privilege and inadvertent disclosure of materials
that are subject to a privilege. See Fed. R. Civ. P. 16(b)(3)(B)(iv); Fed. R. Evid. 502; Local
Rule 3.05.

III.   MOTION PRACTICE



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            2.     Mere Attempts to Confer – Moving parties who unsuccessfully
      “attempt” to confer with opposing parties have not “conferred.”

             3.      Opposing Parties – Opposing parties—including Pro Se Parties—
      must promptly respond to requests for a Good Faith Conference, 6 and failure to
      do so will likely result in the imposition of sanctions. A response that occurs more
      than two business days after a request is not “prompt.”

      C.         Page Limits and Courtesy Copies

       Absent prior leave of the Court, no party may file a motion and supporting
memorandum in excess of twenty-five (25) pages, and no party may file a memorandum
in opposition to a motion (“Response”) in excess of twenty (20) pages. See Local Rule
3.01(a), (b).

             1.     Sanctions – The Court may strike from the record any filing that
      exceeds the page limits or seeks to evade the page limits in any way—including
      by incorporating other documents by reference or by submitting voluminous exhibits
      without pinpoint citations. (See infra Part III.D.)

             2.      Requests to Exceed the Page Limit – Motions requesting leave to
      exceed the page limits or to file a reply or further memorandum are disfavored
      and will be stricken or denied unless the motion: (a) is no more than three (3) pages
      long; (b) specifies the length of the proposed filing; and (c) establishes good cause
      why the Court should grant the requested relief. The Motion must not include—
      as an attachment or otherwise—the proposed motion, response, reply, or other
      paper. See Local Rules 3.01(a), (b), (d).

             3.    Courtesy Copies – Upon request, the parties shall provide the Court
      with courtesy hard copies of lengthy filings. Generally, courtesy copies should be
      provided when the Motion or Response is twenty-five (25) pages or longer
      (including exhibits).

      D.         Duplicative Filings Prohibited

      Unless directed to do so by the Court, no party shall file any document that is
already part of the record. See Filing Procedures, Part VI.A.4. The parties shall cite to
documents already part of the record by providing pinpoint citations to the Docket and
page numbers for such filing (e.g., “(Doc. 20, p. 5)”).

      E.         Pinpoint Citations Required


      6   See Ideals, ¶ 6.10 and Creed of Professionalism ¶ 8; supra n.2.



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        In all Court filings that cite to or rely on evidentiary materials or legal authority,
the filer shall provide pinpoint citations to the page (and line or paragraph if available)
that supports the fact or legal proposition at issue. General references to a deposition or
case law are inadequate. The Court may disregard any assertion of fact or law that is not
supported by a pinpoint citation.

       F.     Motions to Extend Deadlines and to Continue Proceedings

        The deadlines established in this CMSO are purposeful and are not advisory. Thus,
the Court generally denies motions to extend such deadlines or to continue the
proceedings. See Local Rule 3.08(a). As noted below—depending on the deadline at
issue—the Court will grant such motions only upon showing of good cause or manifest
injustice.

               1.   Summary Judgment Motions – In light of the Court’s heavy trial
       calendar and the extensive judicial resources and time required to resolve
       summary judgment motions, such motions must be fully and properly briefed at
       least four months before commencement of the trial term assigned in this CMSO.
       Absent a showing that manifest injustice will result, the Court will deny any
       motion for an extension of the dispositive motion deadline that will result in a
       motion for summary judgment being fully-briefed less than four months before
       trial.

               2.     Continuance of Trial – Absent a showing that manifest injustice will
       result, the Court will deny motions to continue trial. Further, the Court will strike
       a motion to continue trial unless it includes a certification—signed by the moving
       party’s lead trial counsel—affirming that that the moving party has been informed
       of and agrees to the motion to continue trial. See Local Rule 3.08(b).

               3.     Other Deadlines – Motions to extend other deadlines established in
       this CMSO—especially the discovery deadline—are disfavored and will be denied
       absent a showing of good cause and recitations concerning: (a) whether the motion
       is agreed or opposed; (b) the impact—if any—that the parties expect the deadline
       extension will have on the trial date and summary judgment deadline; (c) the
       specific reasons that any additional discovery is both necessary and could not be
       completed in the time allotted by this CMSO; and (d) the parties’ agreement that
       (i) any evidence obtained in the extended discovery period will be unavailable for
       summary judgment purposes, and (ii) the extension will not be relied on in any
       way to support another motion to continue or to extend a deadline. See Fed. R. Civ.
       P. 16(b)(4); Local Rule 3.08(a).

       G.     Sealing Court Records



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        Maintaining judicial records under seal is an administrative burden and is
contrary to the public’s right to open judicial proceedings. Thus, motions to seal should
be made sparingly and only after determining that: (1) the filing of each item to be sealed
is necessary to a fair resolution of this matter; (2) the sealing of each items is necessary to
protect an important right—such as the advantageous commercial advantage afforded
by a trade secret or the privacy interests of vulnerable persons; and (3) the important right
at issue cannot be satisfactorily protected by means other than sealing the record. Further,
when filing a request to seal, the moving party must strictly comply with the pertinent
procedural and formatting instructions set forth in Local Rule 1.11.

       H.     Protective Orders and Orders Compelling Discovery

        The parties must be diligent in their discovery efforts and—subject to compliance
with the Good Faith Conference and Certification Requirements—must promptly raise
any discovery dispute with the Court. In raising such a dispute, the moving party must
comply with the procedural and formatting instructions set forth in Local Rule 3.01(a).
The parties are advised that the Court routinely denies motions to compel that are filed
after the discovery deadline as untimely.

       I.     Emergency and Time-Sensitive Motions

        Promptly after filing an emergency motion, counsel shall notify the Court by placing a
telephone call to the Undersigned’s Courtroom Deputy Clerk (407-835-4211). Counsel are
advised that the designation “emergency” or “time-sensitive” may cause the Court to
abandon other pending matters in order to immediately address the motion, and the
Court will sanction any counsel or party who designates a motion as an “emergency”
under circumstances that are not a true emergency. It is not a true emergency when
counsel has delayed discovery until the end of the discovery period or has otherwise
failed to exercise diligence. In any event, the Court may consider and determine a motion
designated as an “emergency” or “time-sensitive” at any time. See Local Rule 3.01(e).

       J.     Daubert and Markman Motions

       Any party seeking a ruling pursuant to Federal Rule of Evidence 702 and Daubert
v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993) (concerning the admissibility of
expert opinions) or pursuant to Markman v. Westview Instruments, Inc., 517 U.S.370 (1996)
(concerning the interpretation of a patent claim) should file and serve a motion requesting
such relief on or before the summary judgment deadline established in this CMSO. Until
the deadline for filing a Response to a Daubert or Markman Motion, the parties may
request an evidentiary hearing and also may prepare a glossary of technical or scientific
terms.




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         K.       Motions for Summary Judgment

     Absent leave of the Court, no party shall file more than one (1) motion for
 summary judgment.

               1.     Format and Supporting Materials – A party’s motion for summary
         judgment and supporting memorandum of law shall be presented in a single
         document of not more than twenty-five (25) pages. This single document shall:

                           a.      include a distinctly identified section specifying the material
                                   facts as to which the moving party contends there is no
                                   genuine issue for trial together with pinpoint citations to the
                                   record evidence;

                           b.      include a memorandum of law with pinpoint citations to
                                   supporting legal authority;

                           c.      be accompanied by affidavits and other evidence in the form
                                   required by Rule 56.

                 2.     Responses – Within twenty-one (21) days after being served with a
         summary judgment motion, an opposing party may file a Response that shall
         include a distinctly identified section specifying the material facts as to which the
         responding party contends there are genuine issues for trial together with pinpoint
         citations to the record evidence. Failure to timely file a Response may result in the
         entry of judgment for the movant without further proceedings. 7 See Local Rule
         3.01(c).

                3.      Replies – Within fourteen (14) days after being served with a
         Response, the moving party may file a reply memorandum, not exceeding seven
         (7) pages. See Local Rule 3.01(d).

                4.     Joint Stipulations of Fact – On or before the deadline to file a
         Response (supra Part III.J.2), the parties may jointly file a stipulation of agreed
         material facts signed by the movant and the responding party (“SJ Stipulation”).
         See Local Rule 3.05. Because the facts must be construed in the light most favorable
         to the non-moving party at the summary judgment stage, the Court will consider
         SJ Stipulations only for purposes of resolving a summary judgment motion. The
         parties are prohibited from citing to SJ Stipulations in any other context. Because
         SJ Stipulations are likely to expedite the Court’s resolution of a summary judgment


         7 See Milburn v. United States, 734 F.2d 762, 765 (11th Cir. 1984); Griffith v. Wainwright, 772 F.2d 822,
 825 (11th Cir. 1985) (per curiam); see also Fed. R. Civ. P. 56(e).



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       motion and are inapplicable in any other procedural context, the Court strongly
       urges the parties to jointly file an SJ Stipulation concerning all material facts that
       are supported by the record when viewed in the light most favorable to the non-
       moving party.

              5.    Hearings – Unless specifically ordered, the Court will not hold a
       hearing on the summary judgment motion. Unless a different date is set by the
       Court, motions for summary judgment are taken under advisement thirty-six (36)
       days from the date they are served. See Local Rule 3.01(h).

       L.     All Other Motions, Including Motions In Limine

       On or before the date established by this CMSO, the parties shall file and serve all
 other motions including motions in limine.

             1.    Responses – Within fourteen (14) days after being served with any
       motion—except motions listed in Local Rule 3.01(c) and motions in limine—an
       opposing party shall file a Response.

              2.    Unopposed or “Agreed” Motions – When a moving party includes
       the terms “unopposed” or “agreed” in the title of its motion, the filing will come
       to the Court’s attention prior to the Response deadline. Further, the Court
       routinely grants motions as unopposed when no Response is filed. See Local Rule
       1.09.

               3.      Replies Not Permitted – Absent leave of Court (see supra
       Part III.B.2), a party shall not file a reply to any motion other than a motion for
       summary judgment (see supra Part III.J.3). See Local Rule 3.01(d).

              4.     Special Rules for Motions in Limine –

                     a. Absent leave of Court, no party shall file more than one motion
                        in limine.

                     b. Responses to motions in limine are due within seven (7) days.

                     c. The parties are required to conduct a substantive meet-and-
                        confer prior to filing any motion in limine, and failure to do so
                        may result in the imposition of sanctions.

                     d. Generic omnibus motions in limine that merely ask the Court to
                        enforce a laundry-list of the rules of evidence, procedure,
                        professionalism, and the like are strongly discouraged.



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       mediation conference, the mediator may set an abbreviated scheduling conference
       prior to the scheduled mediation. At such time, the mediator may designate one
       or more coordinating attorneys to be responsible for conferring with the mediator
       regarding the mediation conference. If necessary, the coordinating attorney may
       coordinate the rescheduling of a mediation conference within the time allowed in
       this CMSO. The mediation shall continue until adjourned by the mediator. Only
       the mediator may declare an impasse or end the mediation.

             3.     Compensation – Absent agreement of the parties and the mediator,
       and in accordance with Local Rule 4.02(d), mediators shall be compensated at a
       reasonable hourly rate, which shall be borne equally by the parties.

       D.     Mediation Rules and Procedures

              1.      Attendance and Settlement Authority Requirements – Each
       attorney acting as lead trial counsel, and each party (and in the case of a corporate
       party, a corporate representative) with full authority to settle, shall attend and
       participate in the mediation conference. In the case of an insurance company, the
       term “full authority to settle” means authority to settle for the full value of the
       claim or policy limit. Participants shall be prepared to spend as much time as may
       be necessary to settle the case. No participant may force the early conclusion of a
       mediation because of travel plans or other engagements. The Court will impose
       sanctions upon lead counsel and parties who do not attend and participate in good faith in
       the mediation conference.

               2.     Case Summaries – Not less than two (2) days prior to the mediation
       conference, each party shall deliver a case summary to the mediator (“Summary”).
       The Summary shall: (a) concisely summarize the facts and issues of the case; and
       (b) if a corporate party is involved, identify the name and general job description
       of the employee or agent who will attend and participate with full authority to
       settle on behalf such corporate party.

              3.      Confidentiality of Mediation Conference – All discussions,
       representations and statements made at the mediation conference are privileged
       settlement negotiations and are inadmissible to prove liability for or invalidity of
       a claim or its amount. Except in a supplemental proceeding to enforce a settlement
       agreement, nothing related to the mediation conference shall be admitted at trial
       or be subject to discovery. See Fed. R. Evid. 408; Local Rule 4.03(g).

              4.     Settlement – If the parties agree to a settlement during the mediation
       conference, the parties and their attorneys shall: (a) reduce the agreement to
       writing; (b) sign the written agreement in the presence of the mediator; and
       (c) promptly notify the Court of the settlement. See Local. Rules 3.09, 4.03(f).



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             5.     Mediator’s Report – Within seven (7) days of the conclusion of the
       mediation conference, the mediator shall file and serve a written mediation report
       pursuant to Local Rule 4.03(f). The mediator also may report any conduct of a
       party or counsel that falls short of a good faith effort to resolve the case by
       agreement or fails to comply with this CMSO.

 V.    PREPARATION FOR TRIAL

       A.     In Person Pre-Trial Meeting

        On or before the date established by this CMSO, lead trial counsel and any
 unrepresented parties shall meet together in person (“Pre-Trial Meeting”) to discuss the
 following matters in a good faith effort to either avoid trial or to coordinate a fair,
 thoughtful, and efficient presentation of the matter at trial.

              1.     Settlement – The parties shall thoroughly and exhaustively discuss
       settlement of the action before undertaking the extensive efforts needed to conduct
       final preparation of the case for trial and to comply with the requirements of this
       CMSO. The parties also should discuss whether assistance from the Court is
       desired—such as referral to a U.S. Magistrate Judge for a settlement conference.

               2.      Stipulations – The parties shall stipulate to as many facts and issues
       as possible. Parties who have complied with this requirement in good faith will
       file a Joint Final Pretrial Statement listing agreed facts and principles of law other
       than those that remain for determination at trial.

              3.     Depositions – The parties shall advise one another of the depositions
       they will seek to use at trial—including citations to specific pages and lines from
       such depositions. The parties also shall discuss and attempt to resolve any
       objections.

               4.     Witnesses – The parties shall prepare and exchange witness lists,
       which shall include the names and addresses of all witnesses and an indication of
       whether the witness is likely to be called on direct examination. The parties also
       should determine whether they will request that the Court exclude witnesses from
       the trial proceedings in accordance with Federal Rule of Evidence 615.

               5.     Exhibit Lists – The parties shall prepare and exchange draft exhibit
       lists using the form attached to this Order. See Local Rule 3.07.

             6.     Disclosure Requirements – Without exception, at the Pre-Trial
       Meeting, the parties are required to disclose to one another accurate and complete



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         copies of ALL materials they intend to use at trial for any purpose—including
         admission into evidence, tendering to a witness, or presentation to the jury.
         Without limitation, this Pre-Trial Meeting disclosure requirement applies to:

                          a.   Demonstrative Aids; 8

                          b.    Summaries of voluminous materials (see Fed. R. Evid. 1006);

                        c.     All exhibits listed on the parties’ respective exhibit lists,
                 including sensitive exhibits; and

                         d. All materials and documents that may be tendered to a witness
                 at trial for any purpose.

                7.     Marking Exhibits – The parties shall examine and mark the exhibits
         in the manner prescribed by Local Rule 3.07 and the attached instructions. Any
         questions concerning the marking of exhibits or the creation of Exhibit Binders (see
         infra Part VII.B) shall be directed to Courtroom Deputy Yesenia Gomez well in
         advance of trial.

                8.      Good Faith Conferral Requirement – The parties shall discuss and
         make a good faith effort to resolve disputes concerning: (a) admissibility of all
         exhibits; and (b) use of any demonstrative aids. The Court anticipates that the
         parties will agree to the admission of the bulk of the opposing parties’ exhibits
         without objection. To the extent an objection to an exhibit or demonstrative aid
         cannot be resolved by the parties after diligent and good faith efforts, such
         objection shall be noted on the exhibit lists. Any objection that is not disclosed on
         the exhibit list is waived and will not be considered by the Court. 9

                9.    Order of Proof and Presentation of Evidence – Mindful to the fact
         that the Court requires efficient use of all trial time and that parties must rest their
         case when the party does not have a witness or evidence available to present
         during the hours designated for trial, the parties should discuss any issues that
         may arise concerning witness availability and the order of proof. The parties

 8 It is imperative that the parties disclose their respective demonstrative aids in the exact form they will
 be used at trial. For instance, if the proposed aid is a power point presentation, the power point
 presentation must be shown to the other side in the exact manner it will be presented at trial. Likewise,
 any animations or other active aids must be presented as they will be viewed at trial. Mere descriptions,
 summaries, and examples of proposed demonstrative aids are insufficient, and at trial, the Court will
 exclude any demonstrative aid that is not fully and timely disclosed in accordance with the requirements
 of this Order. (See infra Part VIII.A.4.a.)
 999 To avoid delay and confusion, the Court expects that any objection to a demonstrative aid shall be raised

 in the parties’ Motion in Limine. This is particularly true of any demonstrative aid that may be used in
 opening argument or on the first day of trial.



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       indicates that the exhibit will be admitted into evidence by agreement or without
       objection. See Local Rule 3.07.

                    a.     The Joint Exhibit List of All Stipulated and Unopposed
                           Exhibits – To avoid duplicative trial exhibits and to prevent
                           confusion in the record, the parties shall include all stipulated
                           and unopposed exhibits on a single list (“Joint Exhibit List”).
                           For example, if no objection is raised to an exhibit of medical
                           records, the exhibit should be marked as a Joint Exhibit
                           during the Pre-Trial Meeting, and it should be listed only on
                           the Joint Exhibit List. No opposed exhibits should be included
                           on the Joint Exhibit List.

                    b.     Individual Exhibit Lists of Opposed Exhibits – Each party
                           shall include on an individual exhibit list only those exhibits
                           to which an opposing party has objected. No party shall
                           include on their Individual Exhibit List any exhibit that: (i) is
                           unopposed or stipulated to (these should be included only on
                           the Joint Exhibit List); or (2) the Court has determined is
                           admissible after objection (which exhibits also should be
                           included only on the Joint Exhibit List). (See infra Part VII.B
                           (describing exhibit binders).)

               2.     Deposition Designations and Color-Coded Transcripts – The PTS
       shall include, as attachments, deposition designations (“Designations”) and color-
       coded deposition transcripts (“Transcripts”), which identify the deposition
       testimony that each party intends to publish to the jury at trial and any unresolved
       objections thereto. This does not apply to depositions intended to be offered only
       for impeachment. See Local Rule 3.06(b)(8).

                    a.     Designations – The Designations shall specify, in separately
             and clearly-identified sections:

                           1. The reason that the deposition testimony will be used
                              instead of testimony of a live witness and the method by
                              which the party intends to present the deposition
                              testimony at trial (by videotape, read into the record by
                              the Court, etc.);
                           2. Any objection to the use of deposition testimony instead
                              of live witness testimony;
                           3. Identification of the specific deposition testimony by
                              citation to page and line numbers from the deposition
                              transcript; and



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                            4. For any admissibility objections that remain after active,
                               substantial, and good faith efforts at resolution,
                               identification of the unresolved objection, including both
                               citation to pertinent legal authority and a substantive
                               explanation of the basis for each objection.

                     b.      Objections – Non-Specific, boilerplate designation objections
              will be summarily denied. Any designation objections shall include a
              signed certification by the parties’ counsel that they engaged in the requisite
              good-faith conference. The parties are cautioned that failure to engage in
              a substantive, good-faith conference on the deposition objections,
              resulting in voluminous, frivolous objections remaining for the Court’s
              resolution, may subject the parties to sanctions.

                     c.     Transcripts – The color-coded deposition Transcripts
              (preferably mini-script versions) shall be highlighted in different colors to
              indicate the testimony that each party intends to publish at trial. In the
              margins of the color-coded Transcript, the parties also shall note any
              unresolved objections to the highlighted testimony.

              3.      Jointly-Proposed Jury Instructions and Verdict Form – In cases to
       be tried before a jury, the parties shall attach to the PTS a single jointly-proposed
       verdict form and a single set of jointly-proposed jury instructions. The parties
       must number each proposed instruction and submit them in the order they are to
       be presented to the jury. The Court generally uses its own preliminary
       instructions; thus, the parties’ jointly-proposed instructions should cover only the
       instructions that will be given at the close of the case.

                     a.      Pattern Instructions – The Court prefers the Civil Pattern Jury
              Instructions approved by the United States Court of Appeals for the
              Eleventh Circuit (“Pattern Instructions”). The parties must cite to a Pattern
              Instruction or to other legal authority for each proposed instruction. At the
              Court’s website, the parties can access a copy of the Pattern Instructions and
              also can link to a Jury Instruction Builder that uses the Pattern Instructions:

                            http://www.flmd.uscourts.gov/forms/forms policies.htm

                            http://pji.ca11.uscourts.gov

                      b.    Contested Instructions – If the parties are unable to resolve a
              dispute concerning a jury instruction despite a good faith effort to do so at
              the Pre-Trial Meeting, the contested charge must be included with the
              jointly-proposed jury instructions. A contested charge must: (i) be clearly-



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                marked as contested; (ii) identify the party requesting the charge; and
                (iii) provide summaries of the parties’ respective arguments and legal
                authority in favor of and against the Court’s use of the contested
                instruction. The arguments and legal authorities should be provided
                immediately after the contested instruction. The Court will deny outright a
                proposed instruction that does not cite to supporting legal authority or is
                “slanted” in any way.

                       c.     Verdict Form – The parties should be considerate of their jury;
                therefore, they should submit a concise and straightforward special verdict
                form. See Fed. R. Civ. P. 49(a).

                4.      Voir Dire – As an attachment to the PTS, the parties may include a
        single list of jointly-proposed questions for the Court to ask the venire during voir
        dire.

        D.      E-Mail to Chambers

       On or before the date the parties file the PTS and Attachments with the Court, they
 also must provide the Court with editable copies of the following documents in Microsoft
 Word® format: (1) the PTS; (2) the jointly-proposed jury instructions; (3) the jointly-
 proposed verdict form; and (4) any jointly-proposed questions for the venire. These
 documents        should        be        sent       by       electronic     mail       to
 chambers_flmd_Dalton@flmd.uscourts.gov.

        E.      Responsible Parties

        All parties are responsible for holding the Pre-Trial Meeting and for filing and
 e-mailing the PTS and attachments in full compliance with this CMSO. (Supra Parts V.A,
 V.B, & V.C.) Plaintiff’s counsel (or plaintiff if all parties are proceeding pro se) shall have
 the primary responsibility to coordinate such compliance. If only the plaintiff is
 proceeding pro se, then the defendant’s counsel shall coordinate such compliance. If
 compliance with these requirements cannot be obtained after good faith efforts, the
 responsible party must promptly notify the Court by written motion or request for a
 status conference.

        F.      Trial Briefs

         Trial briefs may be filed with the Court on or before the deadline set in this CMSO.
 In the case of a bench trial, the parties are required to file trial briefs with proposed findings
 of fact and conclusions of law, and they also must e-mail editable copies of the trial briefs
 in Microsoft Word® format to chambers_flmd_Dalton@flmd.uscourts.gov.




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 VI.    FINAL PRE-TRIAL CONFERENCE

        A.     Lead Trial Counsel and Parties

       The Court will conduct a final pre-trial conference (“PTC”) on the date set by this
 CMSO, and lead trial counsel and local counsel for each party (if any), together with any
 unrepresented party, must attend in person unless previously excused by the Court.

        B.      Substance of Final Pre-trial Conference
        Since this case must be fully ready for trial at the time that the PTS is due, at the
 final PTC, all parties and their counsel must be prepared and authorized to take all acts
 necessary to facilitate the just, speedy, and inexpensive disposition of the action,
 including by: (1) admitting facts and documents to avoid unnecessary proof; (2)
 stipulating to the authenticity of documents; (3) eliminating frivolous, redundant, and
 unsupported claims; (4) formulating and simplifying the remaining issues; (5) arguing
 pending motions and unresolved evidentiary disputes; (6) establishing reasonable limits
 on the time allowed for trial; and (7) addressing settlement. See Fed. R. Civ. P. 16(c)–((d).

 VII.   TRIAL MATERIALS, EVIDENITARY HEARINGS, AND EXHIBIT BINDERS

        A.     Trial Materials

         The PTC often results in significant changes in the case, which require revision of
 the trial materials previously submitted with the PTS. (See supra Part V.B, and V.C.) Thus,
 on the date set by this CMSO for filing “trial materials,” the parties shall exchange and
 file with the Court revised versions of their: (1) witness and exhibits lists; (2) deposition
 Designations and Transcripts; (3) jointly-proposed jury instructions; (4) jointly-proposed
 verdict form; and (5) proposed voir dire questions (if any). On the same date, the parties
 also shall provide the Court with editable copies of the following revised trial materials
 in Microsoft Word® format: (1) the jointly-proposed jury instructions; (2) the verdict
 form; and (3) questions for the venire. These documents must be sent by electronic mail
 to chambers flmd Dalton@flmd.uscourts.gov.

        B.     Exhibit Binders

         At the commencement of trial or an evidentiary hearing, the parties shall provide
 the Court with binders containing all of the exhibits that may be used. The parties’
 respective individual binders should only include exhibits that are subject to an
 unresolved objection as to admissibility. (See supra Parts V.A.3 and V.C.1.) All other
 exhibits—to which no objection is pending—shall be included in a “Joint Exhibit Binder.”
 All of the Joint Exhibit Binders should be white. All of Plaintiff’s Exhibit Binders should



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               4.     Evidence Excluded and Objections Waived

                       a.     Exhibits and Trial Materials –The Court WILL SUSTAIN an
               objection to use or admission of any material or exhibit that was not:
               (i) timely and properly produced before the discovery deadline set in this
               CMSO); (ii) presented at the Pre-Trial Meeting (see supra Part V.A.6); and
               (iii) included on the exhibit lists filed with the Court (see supra Part VII.A).
               The Court also will usually overrule objections that were not timely raised
               and specifically stated on the exhibit lists or in a motion in limine. A general
               statement that a party “reserves” its objections is ineffective to avoid
               waiver.

                      b.      Fact Witnesses – Generally, the Court will prohibit the parties
               from calling a witness to testify on direct examination at trial unless the
               witness was: (i) properly and timely disclosed during discovery; (ii)
               identified at the Pre-Trial Meeting; and (iii) included on a witness list filed
               with the Court.

                       c.     Expert Witnesses – Generally, the Court will prohibit the
               parties from calling an expert witness to testify at trial unless: (i) the witness
               was timely identified as an Expert Witness in accordance with
               Rule 26(a)(2)(A); (ii) an Expert Report or Expert Disclosure was timely
               produced for the witness (see supra Part II.G); and (iii) the witness was
               identified at the Pre-Trial Meeting and disclosed on an expert witness list
               filed with the Court (see supra Part V.C.2.b). Further, on direct examination,
               the Court will strictly limit an expert witness’s testimony to the matters that
               are fully and timely disclosed in an Expert Report or Expert Disclosure. (See
               supra Part II.G.)

        B.     Date Certain Trial Before Magistrate Judge

         A case scheduled for trial before a U.S. Magistrate Judge will be called for trial on
 a date certain. With respect to a civil case that remains pending before a District Judge
 as of the date of this CMSO, the U.S. District Judges of the Middle District of Florida wish
 to afford the parties the opportunity to consent to proceed before a Magistrate Judge.
 Consent must be unanimous. A U.S. Magistrate Judge is available pursuant to 28 U.S.C.
 § 636(c) and Rule 73(a) to conduct all further proceedings (or specified motions) in this
 case, to conduct a jury or non-jury trial beginning on a date certain, and to enter final
 judgment. A party may appeal a final judgment of a Magistrate Judge to the U.S. Court
 of Appeals for the Eleventh Circuit in the same manner as an appeal from the District
 Court. 28 U.S.C. § 636(c)(3); Fed. R. Civ. P. 73. A party is free to withhold consent without



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 adverse substantive consequences. 28 U.S.C. § 636 (c)(2); Fed. R. Civ. P. 73(b). Consent
 forms are attached to this CMSO.


        C.      Settlement

         Counsel shall immediately notify the Court upon settlement of any case. Local
 Rule 3.09(a). If the settlement occurs on the eve of trial and will eliminate the need for a
 jury, the parties must notify the Court by 11:30 a.m. on the last business day before the
 date scheduled for jury selection. Failure to provide such timely notice to the Court will
 subject each party to joint and several liability for jury costs. Regardless of the status of
 settlement negotiations, the parties shall appear for all scheduled hearings—including
 the PTC—and for trial, absent the filing of a stipulation of dismissal signed by all parties
 who have appeared in the action (or notice of dismissal if prior to answer and motion for
 summary judgment). Fed. R. Civ. P. 41(a).

        DONE AND ORDERED in Chambers in Orlando, Florida, on April 18, 2022.




 Attachments:                Exhibit List Form [mandatory form]
                             Instructions for Pre-Marking of Exhibits
                             Magistrate Judge Consent / Entire Case
                             Magistrate Judge Consent / Specified Motions

 Copies to:                  All Counsel of Record




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                                                                 UNITED STATES DISTRICT COURT
                                                                   MIDDLE DISTRICT OF FLORIDA
                                                                                Orlando Division
                                                                          Judge Roy B. Dalton, Jr.



                 NOTICE TO COUNSEL and UNREPRESENTED PARTIES

       Instructions Regarding Pre-Marking Exhibits, Preparation of Exhibit Lists, and
                             Substitution of Exhibits1

The parties shall prepare their trial exhibits in accordance with Local Rule 3.07, the Case Management
and Scheduling Order (“CMSO”), and the following instructions.

The parties shall prepare exhibit binders containing all of the exhibits that may be used at trial. All
exhibits to which no objection is pending and all exhibits that are stipulated to shall be included in a
joint exhibit binder (“Joint Exhibit Binder”). Thus, the Joint Exhibit Binder will contain: (1) exhibits
for use by both parties to which no objection is pending; (2) exhibits for use by Plaintiff/Government
to which Defendant does not object; and (3) exhibits for use by Defendant to which
Plaintiff/Government does not object. Exhibits that are subject to an unresolved objection as to
admissibility shall be included in separate binders—one binder containing exhibits for the
Plaintiff/Government’s use (“Plaintiff/Government’s Exhibit Binder”) and one binder containing
exhibits for the Defendant’s use (“Defendant Exhibit Binder”). (See CMSO, Part VII, B). The Joint
Exhibit Binders should be white. Plaintiff/Government’s Exhibit Binders should be black. Defendant’s
Exhibit Binders should be a color that is distinguishable from the white and black binders (e.g., purple
or green).

The parties shall provide three sets of exhibit binders to the Court (exclusive of counsels’ copies).
One set shall be supplied to the Courtroom Deputy Clerk (“Official Set”). The Official Set shall consist
of the original exhibits that include appropriately colored exhibit tags stapled to the upper right hand
corner of the first page of the exhibits. The exhibit tags are party-specific and are further explained
below. A second set of binders shall be supplied to the Judge, together with an index and matrix
reflecting any objections thereto for the Plaintiff/Government’s Exhibit Binder and the Defendant’s
Exhibit Binder (“Bench Set”). A third and final set shall be positioned in the Witness Box at the outset
of trial (“Witness Set”). The Bench and Witness Sets do not require the exhibits tags. However,
counsel shall use numbered tabs to tab out the exhibits for quick reference.

Copies of Court-approved Exhibit Tags and Exhibit Lists can be found on the Court’s webpage and are
self-explanatory. Green tags shall be used for joint exhibits, blue tags for Plaintiff/Government exhibits
and yellow tags for Defendant exhibits. If you have any questions, contact Courtroom Deputy Clerk
Yesenia Gomez at 407-835-4211. Unrepresented (“pro se”) parties may obtain additional tags from
Ms. Gomez.


Counsel and pro se parties, if any, are responsible for including a complete list of the exhibit number(s)
and a detailed description of each exhibit into the attached Exhibit List.

At the commencement of trial, counsel and pro se parties, if any, shall provide THREE (3) COPIES
of the Exhibit List and Witness List to the Courtroom Deputy Clerk.
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 Exhibit Substitutes – You are required to offer photographs of sensitive or large physical exhibits
 (i.e., weapons, narcotics, currency, etc.), which will become the “substitute exhibit” at the conclusion
 of the case for maintenance by the Clerk. You must also submit 8½” by 11 reductions with larger-
 sized documentary or similar exhibits. Unless otherwise ordered by the Court, should an appeal later
 be filed, the Clerk will send the photographic and/or reduced substitutes (in lieu of the original exhibits)
 to the Eleventh Circuit Court of Appeals in the record on appeal.

 Electronic Exhibits – As of December 1, 2016, the Eleventh Circuit Court of Appeals requires that
 the electronic record include all exhibits admitted into evidence at trial or at an evidentiary hearing.
 Therefore, counsel should be prepared to submit in PDF format on a CD or flash drive all exhibits
 marked for identification and/or admitted during trial to the courtroom deputy within 7 days following
 the conclusion of the trial/hearing. Each exhibit is to be saved as a separate document, not to exceed
 50 MB in size. If necessary to meet the size limitation, documents may be separated into subparts
 such as Exhibit 1-1, 1-2, etc. Counsel will be required to submit a certification (attached) that all
 parties have reviewed the submission and agree to its authenticity.

 Audio and/or Visual Equipment – Please note that the Court has a variety of audio and visual
 equipment available for use during trials. At least one week prior to trial, parties intending to use such
 equipment shall notify the Courtroom Deputy Clerk and schedule an appointment to come into court
 and familiarize themselves with the courtroom technology systems. Failure to do so may result in the
 equipment not being available for use during trial.




        1
          These instructions are not all-inclusive; they are purposely general in nature and intended merely to supplement the
Local Rules and Case Management and Scheduling Order (“CMSO”).Counsel and/or pro se parties are responsible forbecoming
completely familiar with and fully complying with the CMSO and Local Rules. Particular attention is drawn to Local Rule 5.03
(“Courtroom Decorum”).




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                                           UNITED STATES DISTRICT COURT
                                            MIDDLE DISTRICT OF FLORIDA
                                                 ORLANDO DIVISION


LAZARO MARTINEZ,

                         Plaintiff,

v.                                                                 Case No: 6:22-cv-461-RBD-LHP

LOWE’S HOME CENTERS, LLC

                Defendant.
__________________________



     NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE
       Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to conduct all
proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment. The judgment
may then be appealed directly to the United States court of appeals like any other judgment of this court. A magistrate
judge may exercise this authority only if all parties voluntarily consent.

        You may consent to have your case referred to a magistrate judge, or you may withhold your consent without
adverse substantive consequences. The name of any party withholding consent will not be revealed to any judge who may
otherwise be involved with your case.

       Consent to a magistrate judge’s authority. The following parties consent to have a United States magistrate judge
conduct all proceedings in this case including trial, the entry of final judgment, and all post-trial proceedings.

           Signatures                                    Party Represented                                       Date




                                                  ORDER OF REFERENCE

       IT IS ORDERED that this case be referred to the UNITED STATES MAGISTRATE JUDGE for all further
proceedings and the entry of judgment in accordance with 28 U.S.C. 636(c), Fed. R. Civ. P. 73.




             DATE                                                            UNITED STATES DISTRICT JUDGE


NOTE:    RETURN THIS FORM TO THE CLERK OF THE COURT ONLY IF ALL PARTIES HAVE CONSENTED ON THIS FORM TO THE EXERCISE
         OF JURISDICTION BY A UNITED STATES MAGISTRATE JUDGE.
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                                            UNITED STATES DISTRICT COURT
                                             MIDDLE DISTRICT OF FLORIDA
                                                  ORLANDO DIVISION

LAZARO MARTINEZ,

                         Plaintiff,

v.                                                                  Case No: 6:22-cv-461-RBD-LHP

LOWE’S HOME CENTERS, LLC

                Defendant.
__________________________



        NOTICE, CONSENT, AND REFERENCE NOTICE, CONSENT, AND REFERENCE OF A
                     DISPOSITIVE MOTION TO A MAGISTRATE JUDGE
         Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to conduct all
proceedings and enter a final order dispositive of each motion. A magistrate judge may exercise this authority only if all
parties voluntarily consent.

       You may consent to have motions referred to a magistrate judge, or you may withhold your consent without
adverse substantive consequences. The name of any party withholding consent will not be revealed to any judge who
may otherwise be involved with your case.

         Consent to a magistrate judge’s consideration of a dispositive motion. The following parties consent to have a
United States magistrate judge conduct any and all proceedings and enter a final order as to each motion identified below
(identify each motion by document number and title).

         MOTION(S)




        Party Represented                                     Signatures                                          Date




                                                  ORDER OF REFERENCE

          IT IS ORDERED: The motions are referred to a United States magistrate judge to conduct all proceedings and
enter a final order on the motions identified above in accordance with 28 U.S.C. § 636(c).


             DATE                                                             UNITED STATES DISTRICT JUDGE



NOTE:    RETURN THIS FORM TO THE CLERK OF COURT ONLY IF ALL PARTIES HAVE CONSENTED ON THIS FORM TO THE EXERCISE OF
         JURISDICTION BY A UNITED STATES MAGISTRATE JUDGE.
